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                        EXHIBIT 205
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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                  Plaintiff,

          vs.

   CASTLE HILL STUDIOS LLC, et al.                              CASE NO. 17-CV-00454-GKF-JFJ

                  Defendants.


           DEFENDANTS’ FIRST SUPPLEMENTAL RESPONSE TO PLAINTIFF’S
                      FOURTH SET OF INTERROGATORIES

          Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (together “Castle Hill”) submit this First Supplemental Response to

   Plaintiff’s Fourth Set of Interrogatories.

      SUPPLEMENTAL OBJECTIONS AND ANSWERS TO INTERROGATORIES

          INTERROGATORY NO. 21:                  With regard to each of the third party games referred

   to in Defendants’ Second Supplemental Objections and Responses to Plaintiff’s First Interrogatories

   to Defendants dated March 16, 2018, identify all facts of which CHG has knowledge, including

   stating whether CHG has any knowledge as to (1) whether each of these games is/was located in any

   of the same casinos as VGT and/or CHG games, (2) the dates during which each of these games has

   been/was in operation, (3) whether each of these games is/was a Class II game, and (4) whether each

   of these games is/was a 3-reel mechanical game.

          RESPONSE:               Castle Hill objects to this Interrogatory as overly broad and unduly

   burdensome. In its Second Supplemental Objections and Responses to Plaintiff’s First

   Interrogatories, Castle Hill identified over 90 different electronic gaming machine titles which

   have similar themes, characters, or names to the VGT and Castle Hill games at issue in this case.
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   Castle Hill further included images of the machines and identified the relevant manufacturer of

   certain titles. VGT’s request for Castle Hill to identify “all facts” regarding the more than 90

   titles identified in Castle Hill’s prior response is overly broad and unduly burdensome. Castle

   Hill further objects to this Interrogatory as compound in that it seeks “all facts” relating to the

   more than 90 titles identified in Castle Hill’s prior response. Even if the interrogatory were

   limited to only the four items mentioned in the Interrogatory, which it is not, it would still

   contain more than three-hundred sixty subparts. Castle Hill further objects to this Interrogatory

   to the extent it seeks information protected by attorney-client privilege and/or the work product

   doctrine.

          FIRST SUPPLEMENTAL RESPONSE: Castle Hill incorporates its General

   Objections set forth in its original Response to Plaintiff’s Fourth Set of Interrogatories. Castle

   Hill further incorporates the objections and response set forth in its original response to

   Interrogatory No. 21 as set forth above.

          Subject to and without waiver of these objections, Castle Hill states that it is without

   knowledge or information sufficient to answer as to the dates of operation of each of the third-

   party games referred to in this request. However, Castle Hill is aware of the following with

   respect to the third-party games which have similar themes, characters, or names to the VGT and

   Castle Hill games at issue in this case:

          Winning Bid 2 is manufactured by WMS and games have been located in the Grand

   Casino Hotel & Resort in Shawnee, Oklahoma (the “Grand Casino Shawnee”) and the

   Bordertown Casino and Arena in Wyandotte, Oklahoma (the “Bordertown Casino”) at the same

   time as Castle Hill and VGT games. Big Vegas, Speakeasy King, and Vegas Hits are Class II




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   games manufactured by Bally. Crazy Vegas is a Class II game manufactured by Cadillac Jack.

   Rum City is manufactured by Bally. Double Agent is manufactured by Everi.

          Filthy Rich 2 – Shakin’ Bacon is manufactured by WMS and games have been located in

   the Grand Casino Shawnee at the same time as Castle Hill and VGT games. Highway Hogs is

   manufactured by Eclipse and games have been located in the Grand Casino Shawnee at the same

   time as Castle Hill and VGT games. Road Hogs is a Class II game manufactured by Diamond.

   Pigs on the Run is a Class II game manufactured by AGS. Piggy Bankin’ is a 3-reel mechanical

   game manufactured by WMS. Pork Choppers is manufactured by Eclipse. High on the Hog is

   manufactured by IGT. Wild Riders is manufactured by Cadillac Jack.

          Strike It Rich Again! is a Class II, 3-reel mechanical game manufactured by IGT and

   games have been located in the Choctaw Casino & Resort in Durant, Oklahoma at the same time

   as Castle Hill and VGT games. Strike It Rich is a 3-reel mechanical game manufactured by IGT.

   Gold Miner is manufactured by Aristocrat. Miner’s Quest is manufactured by Cadillac Jack.

          Wild Wild Gems is a Class II, 3-reel mechanical game manufactured by Everi and games

   have been located in the WinStar World Casino and Resort in Thackerville, Oklahoma (“WinStar

   Casino”) at the same time as Castle Hill and VGT games. Super Rubies is a Class II game

   manufactured by Everi and games have been located in the WinStar Casino at the same time as

   Castle Hill and VGT games. Gem Rush is manufactured by Everi and games have been located

   in the WinStar Casino at the same time as Castle Hill and VGT games. Sapphire Chance is

   manufactured by Bally and games have been located in the 7 Clans Perry Casino in Perry,

   Oklahoma (“Perry Casino”) at the same time as VGT games. Genie Wishes is a Class II game

   manufactured by IGT. Gems Gems Gems is a Class II game manufactured by WMS. Genie’s

   Jackpot is a Class II game manufactured by Cadillac Jack. Lock It Link Diamond is a Class II




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   game manufactured by Bally. Pink Diamond is a 3-reel mechanical game manufactured by IGT.

   Genie’s Gold is manufactured by Bally. Diamonds Plus is manufactured by Incredible

   Technologies.

           Stinkin’ Rich is a Class II game manufactured by IGT and games have been located in

   Cimarron Casino in Perkins, Oklahoma (“Cimarron Casino”), 7 Clans Gasino Chilocco Casino in

   Newkirk, Oklahoma (“Chilocco Casino”), and Bordertown Casino at the same time as Castle

   Hill and VGT games. The Money Man is manufactured by Multimedia and games have been

   located in the Bordertown Casino at the same time as Castle Hill and VGT games. Bags of Cash

   is manufactured by Aruze and games have been located in the 7 Clans Paradise Casino in Red

   Rock, Oklahoma (“Paradise Casino”) at the same time as Castle Hill and VGT Games. Money

   Talks is a Class II, 3-reel mechanical game manufactured by Bally. Double Fat Cash is a 3-reel

   mechanical game manufactured by IGT. Catch the Money is manufactured by Aruze.

           Polar Plunge is manufactured by IGT and games have been located in the Paradise

   Casino and Chilocco Casino at the same time as Castle Hill and VGT games, as well as in the

   Perry Casino at the same time as VGT games. Just Chillin is a Class II game manufactured by

   Nova.

           Desperado’s Wild is manufactured by Cadillac Jack. Winner of the West is

   manufactured by IT.

           Murphy’s Luck is a Class II game manufactured by Cadillac Jack. Irish Gold is a Class II

   game manufactured by Diamond. Leprechaun’s Gold – Hot Hot Super Jackpot is a 3-reel

   mechanical game manufactured by WMS.

           Diamond Skies is manufactured by IGT and games have been located in the Cimarron

   Casino and Bordertown Casino at the same time as Castle Hill and VGT games. Double Cherry




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   is manufactured by Multimedia and games have been located in the WinStar Casino at the same

   time as Castle Hill and VGT games. Double Sizzling Rose is a Class II, 3-reel mechanical game

   manufactured by IGT. Saints and Sinners is a Class II game manufactured by Rocket. Wild

   Thing is a 3-reel mechanical game manufactured by IGT.

          Lady Swan is a Class II game manufactured by IGT and games have been located in the

   Cimarron Casino and Bordertown Casino at the same time as CHG and VGT games, as well as

   in the Perry Casino at the same time as VGT games. Pirate Queen is a Class II game

   manufactured by Bally and games have been located in the Cimarron Casino and Bordertown

   Casino at the same time as Castle Hill and VGT games.

          By way of further response, Castle Hill states that additional information regarding the

   third-party games referred to in this request was produced at: CHG0134189 – CHG0134526.


   Dated: July 29, 2018                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 29th day of July, 2018, I caused a copy of the foregoing
   DEFENDANTS’ FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFF’S FOURTH
   SET OF INTERROGATORIES be served email on:

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